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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Norfolk Division

         UNITED STATES OF AMERICA,

         v.                                                         Criminal Nos. 2:19-cr-47

         AGHEE WILLIAM SMITH, II,

                 Defendant.

                       DEFENDANT’S MOTION TO REISSUE
                 OR CONTINUE SUBPOENAS TO THE NEW TRIAL DATE

         The defendant, Aghee William Smith, II, respectfully moves this Court to either continue the

 subpoenas already served to the new trial date or to reissue the subpoenas for the new trial date,

 currently set for February 1, 2022. In preparation for trial, Mr. Smith subpoenaed multiple witnesses

 to appear for the November 16, 2021 trial date. ECF Nos. 194, 197, 200. After the subpoenas were

 issued, the jury trial was continued to February 1, 2022, at 10:00 a.m. at the federal courthouse located

 at 600 Granby Street, Norfolk, Virginia. Mr. Smith still needs those witnesses to appear at trial for

 the new court date. Other parties in this case have subpoenaed witnesses as well.

         Mr. Smith seeks to ensure that his previously subpoenaed witnesses remain under an

 enforceable Court order to appear at the new trial date. A “subpoena to appear at a court proceeding

 does not automatically ‘float’ to the new date when the court continues the proceeding.” Gaudin v.

 Remis, 2007 WL 294130, * 3 (U.S. Haw. Jan. 29, 2007). A continuance of a trial nullifies a subpoena.

 Compton v. Torch, Inc., 2000 WL 622604, * 4 (E.D. La. May 11, 2000). “The parties or the court, however,

 may take action to continue the subpoena to the new date.” Id.; Dowe v. Nat’l R.R. Passenger Corp., 2004

 WL 1393603, *3 (N.D. Ill. June 22, 2004) (“The witnesses’ trial subpoenas were continued by court

 order following the mistrial.”).




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        Accordingly, Mr. Smith requests that the Court continue the previously issued subpoenas. In

 the alternative, Mr. Smith asks for the Court to reissue the previous subpoenas and direct the U.S.

 Marshals Service to serve the witnesses once again.

                                                       Respectfully submitted,

                                                       AGHEE WILLIAM SMITH, II

                                                       By:_________/s/_______________

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